     Case 0:19-cv-60177-BB Document 1 Entered on FLSD Docket 01/18/2019 Page 1 of 6



                                 UNITED STATES DISTRICT COURT
1                                          FOR THE
                                 SOUTHERN DISTRICT OF FLORIDA
2

3
      CHRISTOPHER XENOS,                            )
4                                                   )
                    Plaintiff                       )
5                                                   ) Case No.:
             v.                                     )
6                                                   ) COMPLAINT AND DEMAND FOR
      CAPITAL ONE,                                  ) JURY TRIAL
7                                                   )
                   Defendant                        )
8
                                                    )
9
                                              COMPLAINT
10
             CHRISTOPHER XENOS (“Plaintiff”), by and through her attorneys, KIMMEL &
11
      SILVERMAN, P.C., allege the following against CAPITAL ONE (“Defendant”):
12
                                            INTRODUCTION
13
             1.     Plaintiff’s Complaint is based on the Telephone Consumer Protection Act, 47
14

15
      U.S.C. § 227 et seq (“TCPA”) and the Florida Consumer Collection Practices Act, Florida

16    Statute §559.55 et seq. (“FCCPA”).

17                                   JURISDICTION AND VENUE

18           2.     Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331. See Mims v.

19    Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012).
20
             3.     Pursuant to 28 U.S.C. §1367(a), this Court has supplemental jurisdiction over
21
      Plaintiff’s claims under the Florida Consumer Collection Practices Act, Fla. Stat. (“FCCPA”), §
22
      559.55, et seq., because those claims share a common nucleus of operative facts with Plaintiff’s
23
      claims under the TCPA. See LeBlanc v. Unifund CCR Partners, 601 F.3d 1185 (11th Cir. 2010).
24
             4.
25



                                                     1

                                         PLAINTIFF’S COMPLAINT
     Case 0:19-cv-60177-BB Document 1 Entered on FLSD Docket 01/18/2019 Page 2 of 6



              5.      Defendant conducts business in the State of Florida, and as such, personal
1
      jurisdiction is established.
2

3
              6.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

4                                                  PARTIES

5             7.      Plaintiff is a natural person residing in Tamarac, Florida 33321.

6             8.      Plaintiff is a “consumer” as defined by the FCCPA and is a person whom the act
7     was intended to protect, FCCPA, Fla. Stat. § 559.55(8).
8
             9.       Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).
9
             10.      Defendant is a corporation with its principal place of business located at 1680
10
      Capital One Drive, McLean, Virginia 22101.
11
             11.      Defendant is a “person” as that term is defined by 47 U.S.C. § 153 (39).
12
              12.     At all relevant times, Defendant acted through its agents, employees, officers,
13
      members, directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
14
      representatives, and insurers.
15

16                                      FACTUAL ALLEGATIONS

17           13.      Plaintiff has a cellular telephone number that he has had for at least two years.

18           14.      Plaintiff has only used this phone as a cellular telephone.

19           15.      Beginning in or around July 2015 and continuing thereafter, Defendant called
20    Plaintiff on his cellular telephone on a daily basis, typically calling once per day regarding an
21
      alleged debt.
22
             16.      When contacting Plaintiff on her cellular telephone, Defendant used an automatic
23
      telephone dialing system and/or automatic and/or pre-recorded messages.
24
             17.      Plaintiff received live calls with real people in addition to the automated calls.
25



                                                        2

                                           PLAINTIFF’S COMPLAINT
     Case 0:19-cv-60177-BB Document 1 Entered on FLSD Docket 01/18/2019 Page 3 of 6



             18.       Plaintiff knew that Defendant’s calls were automated since she would wait during
1
      a pause or delay at the beginning of a call prior to being transferred or connected to one of
2

3
      Defendant’s representatives.

4            19.       Defendant’s telephone calls were not made for “emergency purposes.”

5            20.       Upon initial communication with Defendant in or around July 2015, Plaintiff

6     spoke to Defendant, told Defendant he could not afford to pay the alleged debt, and told
7     Defendant to stop calling.
8
             21.       Despite Plaintiff’s revocation of consent as well as further demands to cease and
9
      desist telecommunications, Defendant instead persisted in calling him daily.
10
             22.       Defendant’s incessant calls were exasperating and aggravating to Plaintiff.
11
             23.       Upon information and belief, Defendant conducts its business in a manner that
12
      violates the Telephone Consumer Protection Act.
13

14
                                          COUNT I
15
                                   DEFENDANT VIOLATED THE
16                           TELEPHONE CONSUMER PROTECTION ACT

17           24.       Plaintiff incorporates the forgoing paragraphs as though the same were set forth at

18    length herein.

19           25.       Defendant initiated multiple automated telephone calls to Plaintiff’s cellular
20    telephone using an automated message and/or prerecorded voice and/or automatic telephone
21
      dialing system.
22
             26.       Defendant’s calls to Plaintiff were not made for “emergency purposes.”
23

24

25



                                                        3

                                           PLAINTIFF’S COMPLAINT
     Case 0:19-cv-60177-BB Document 1 Entered on FLSD Docket 01/18/2019 Page 4 of 6



              27.     Defendant’s calls to Plaintiff were not made with Plaintiff’s prior express consent,
1
      as any consent Defendant may have thought it had to call Plaintiff was revoked when Plaintiff
2

3
      repeatedly told Defendant to stop calling him.

4            28.     Defendant’s acts as described above were done with malicious, intentional,

5     willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the

6     purpose of harassing Plaintiff.
7            29.     The acts and/or omissions of Defendant were done unfairly, unlawfully,
8
      intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal defense,
9
      legal justification or legal excuse.
10
             30.     As a result of the above violations of the TCPA, Plaintiff has suffered the losses
11
      and damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles
12
      damages.
13

14
                                        COUNT II
15
                                 DEFENDANT VIOLATED THE
16                     FLORIDA CONSUMER COLLECTION PRACTICES ACT

17            31.     Plaintiff incorporates the foregoing paragraphs as though the same were set forth

18    at length herein.

19            32.     Any person attempting to collect a consumer debt violates § 559.72(7) by
20    willfully communicating with the debt with such frequency as can reasonably be expected to
21
      harass the debtor or willfully engaging in other conduct which can be reasonable excepted to
22
      abuse or harass, the debtor, such as causing a telephone to ring or engaging any person in
23
      telephone conversation repeatedly or continuously with intent to annoy, abuse, or harass.
24

25



                                                       4

                                             PLAINTIFF’S COMPLAINT
     Case 0:19-cv-60177-BB Document 1 Entered on FLSD Docket 01/18/2019 Page 5 of 6



             33.    Defendant violated § 559.72(7) when it placed repeated and continuous telephone
1
      calls to Plaintiff within the two years preceding the filing of this Complaint knowing its calls
2

3
      were unwanted.

4

5
                                         PRAYER FOR RELIEF
6
             WHEREFORE, Plaintiff, CHRISTOPHER XENOS, respectfully prays for a judgment as
7
      follows:
8
                    a. Statutory damages of $1,000.00 pursuant to Florida Consumer Collection
9
                        Practices Act, Fla. Stat. §559.77; and
10
                    b. Costs and reasonable attorneys’ fees pursuant to Florida Consumer Collection
11
                        Practices Act, Fla. Stat. §559.77; and
12

13                  c. All actual damages suffered pursuant to 47 U.S.C. § 227(b)(3)(A);

14                  d. Statutory damages of $500.00 per violative telephone call pursuant to 47

15                      U.S.C. § 227(b)(3)(B);

16                  e. Treble damages of $1,500 per violative telephone call pursuant to 47 U.S.C.
17                      §227(b)(3);
18
                    f. Injunctive relief pursuant to 47 U.S.C. § 227(b)(3); and
19
                    g. Any other relief deemed appropriate by this Honorable Court.
20

21

22

23

24

25



                                                      5

                                         PLAINTIFF’S COMPLAINT
     Case 0:19-cv-60177-BB Document 1 Entered on FLSD Docket 01/18/2019 Page 6 of 6



                                  DEMAND FOR JURY TRIAL
1
              PLEASE TAKE NOTICE that Plaintiff, CHRISTOPHER XENOS, demands a jury trial
2

3
      in this case.

4

5
                                             RESPECTFULLY SUBMITTED,
6
      Date: January 18, 2019          By: /s/ Amy L. Bennecoff Ginsburg
7                                             Amy L. Bennecoff Ginsburg, Esq.
                                              Kimmel & Silverman, P.C.
8
                                              30 E. Butler Pike
9
                                              Ambler, PA 19002
                                              Phone: (215) 540-8888
10                                            Fax: (877) 788-2864
                                              Email: aginsburg@creditlaw.com
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                                               6

                                     PLAINTIFF’S COMPLAINT
